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       UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION

CARL HOFFER, et al.,

            Plaintiffs,

v.                                  Case No. 4:17cv214-MW/CAS

JULIE L. JONES, in her official
capacity as Secretary of the
Florida Department of
Corrections,

           Defendant.
__________________________/

     ORDER MODIFYING PRELIMINARY INJUNCTION

      This Court entered a Preliminary Injunction, ECF No. 185,

and then modified it twice, ECF No. 214; ECF No. 218.

Subsequently, Plaintiffs moved this Court to enter a second,

successive preliminary injunction. ECF No. 224. This Court

granted that motion and ordered that the Preliminary Injunction,

as modified, would re-issue on March 14, 2018. ECF No. 226.

      Now, before the effective date of the Second Preliminary

Injunction, Defendant moves for a further modification. ECF No.

231. In that motion, Defendant requests that this Court extend the

evaluation deadlines for all inmates with fibrosis scores of F2 or


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greater, which are the inmates that this Court has ordered to

receive treatment with direct acting anti-viral medications

(“DAAs”). Id. at 5–7. Defendant also requests that the information

to be included in Section D of the monthly cHCV status report

include not only the number of inmates who have been both staged

and evaluated, but also the number of inmates who have been

staged. Id. at 8; see also ECF No. 185, at 6. Plaintiffs do not oppose

Defendants’ motion. ECF No. 231, at 9.

      Accordingly,

      IT IS ORDERED:

   1. Defendant’s motion for modification of the Preliminary

      Injunction, ECF No. 231, is GRANTED.

   2. The Preliminary Injunction, ECF No. 185, is modified as

      follows:

         a. Paragraph 1(c) is modified to read: “FDC must stage

            (that is, conduct blood tests, proprietary indices,

            imaging, etc. to determine the F-score) all of the

            ~7,500 inmates it knows to have chronic HCV no later

            than April 30, 2018.”




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            b. Paragraph 1(d) 1 is modified to read: “Of the ~7,500

               inmates FDC knows have chronic HCV, FDC must

               stage (that is, conduct blood tests, proprietary indices,

               imaging, etc. to determine the F-score) the 2,500

               inmates     with     the    most    immediate     needs    (as

               determined      by     evaluating      albumin    levels       in

               conjunction     with       the   predictive   scoring   index

               (“FibroSURE”), other lab tests on the spreadsheet, and

               abdominal ultrasounds) no later than February 28,

               2018.”

            c. Paragraph 1(f) 2 is added to read: “For the ~7,500

               inmates FDC knows to have chronic HCV, FDC must

               evaluate them (that is, review their release date, other

               medical history, contraindications, etc. to determine

               eligibility for treatment) according to the following

               schedule:

                   i. The chronic HCV inmates who have a fibrosis

                      score of F4, and who need to have their



      1   Paragraph 1(d) has already been modified once. See ECF 214, at 7.

      2This Court already modified the injunction to add paragraph 1(e). See
ECF 218, at 2.
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                  treatment with DAAs initiated before the end of

                  May 2018, must be evaluated for that treatment

                  no later than April 30, 2018.

              ii. The chronic HCV inmates who have a fibrosis

                  score of F3, and who need to have their

                  treatment with DAAs initiated before the end of

                  December 2018, must be evaluated for that

                  treatment no later than September 30, 2018.

              iii. The chronic HCV inmates who have a fibrosis

                  score of F2, and who need to have their

                  treatment with DAAs initiated by before the end

                  of December 2019, must be evaluated for that

                  treatment no later than September 30, 2019.

              iv. For all other inmates (that is, inmates not

                  currently known to have chronic HCV), FDC

                  must evaluate and stage inmates within 60 days

                  of confirming that the inmates have chronic

                  HCV.”

         d. Paragraph 4(d) is modified to read: “The total number

            of inmates in FDC custody who have been identified as

            having chronic HCV and have been staged. This

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            number must be further broken down by stage (i.e., F0,

            F1, F2, F3, F4, and decompensated cirrhosis). And the

            total number of inmates in FDC custody who have

            been identified as having chronic HCV and have been

            both staged and evaluated. This number must be

            further broken down by stage (i.e., F0, F1, F2, F3, F4,

            and decompensated cirrhosis).”

      SO ORDERED on March 12, 2018.

                              s/Mark E. Walker
                              United States District Judge




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